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 1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
 2                           WEST PALM BEACH DIVISION
                            CASE NO. 9:18-cv-80176-BB
 3
      IRA KLEIMAN, as the personal representative
 4    of the Estate of David Kleiman, and W&K Info
      Defense Research, LLC,
 5
                  Plaintiffs,                                       December 2, 2021
 6                                                                  4:59 p.m.
                 vs.
 7
      CRAIG WRIGHT,
 8
                Defendant.                    Pages 1 THROUGH 5
 9    ______________________________________________________________

10                         TRANSCRIPT OF TRIAL DAY 19
                         BEFORE THE HONORABLE BETH BLOOM
11                        UNITED STATES DISTRICT JUDGE
                                And a Jury of 10
12
      Appearances:
13    FOR THE PLAINTIFF:      ROCHE FREEDMAN, LLP
                              DEVIN FREEDMAN, ESQ.
14                            KYLE ROCHE, ESQ.
                              200 South Biscayne, Suite 5500
15                            Miami, Florida 33131

16                            BOIES SCHILLER & FLEXNER
                              ANDREW BRENNER, ESQ.
17                            STEPHEN N. ZACK, ESQ.
                              100 Southeast 2nd Street, Suite 2800
18                            Miami, Florida 33131

19    FOR THE DEFENDANT:      RIVERO MESTRE, LLP
                              ANDRES RIVERO, ESQ.
20                            AMANDA M. MCGOVERN, ESQ.
                              2525 Ponce de Leon Boulevard, Suite 1000
21                            Coral Gables, Florida 33134

22    COURT REPORTER:         Yvette Hernandez
                              U.S. District Court
23                            400 North Miami Avenue, Room 10-2
                              Miami, Florida 33128
24                            yvette_hernandez@flsd.uscourts.gov

25

                                Yvette Hernandez, Official Court Reporter
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 1         (Call to order of the Court, 4:59 p.m.)

 2               THE COURT:    Good afternoon.                  It's good to see each of

 3    you.

 4               Our jury is still deliberating.                        They have asked to

 5    come back tomorrow.      And they have also requested, since some

 6    of them have a conflict, that they would like to -- if they

 7    don't obviously come to a conclusion, they would like to

 8    adjourn tomorrow by 3:00 p.m.

 9               So I did want to let both sides know.

10               MR. FREEDMAN:      Your Honor, I was going to ask if we

11    could end at 3:00 p.m. anyway because of the Sabbath and how

12    early it starts, so no objection from Plaintiffs' counsel.

13               THE COURT:    It certainly works well.

14               MS. MCGOVERN:      Thank you, Your Honor.

15               MR. BRENNER:     10:00 to 3:00 tomorrow?

16               THE COURT:    Anything we need to address -- I'm sorry?

17               MR. BRENNER:     It's a 10:00-to-3:00 day tomorrow?

18               THE COURT:    It's 10:00.              As we know, one of the jurors

19    has difficulty coming earlier.

20               MR. BRENNER:     Yeah.

21               THE COURT:    All right.             I'm not sure where our court

22    security officer is.

23               COURTROOM DEPUTY:          She's on the other side.

24               THE COURT:    I'm not sure who is with us.                     Can you ask

25    him or her to bring the jury in.

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 1         (Pause in proceedings.)

 2               THE COURT:    Well, it's good to see each of you.

 3               MR. RIVERO:    Good to see you, Judge.

 4         (Before the Jury, 5:00 p.m.)

 5               THE COURT:    All right.             Please be seated.

 6               It's good to see each of you, Ladies and Gentlemen.                        I

 7    know you are working hard and you have asked to recess for the

 8    evening.    And I note tomorrow morning you will be here at

 9    10:00.    Please remember to gather outside in the vestibule

10    until all 10 of you are here, and then the court security

11    officer will open up the jury room so you can continue your

12    deliberations.

13               There was also a request to the courtroom deputy that

14    we adjourn tomorrow at 3:00 p.m., if you have not concluded

15    your work.    So certainly we will honor that request.

16               Please remember, as we adjourn for the evening, that

17    you are not to discuss this case with anyone, nor permit anyone

18    to speak with you.      You're not to conduct any independent

19    research.    The evidence has already been presented to each of

20    you.

21               It's good to see each of you.                      Have a pleasant evening

22    and we'll see you tomorrow morning.

23         (Jury not present, 5:03 p.m.)

24               THE COURT:    Is there anything further?

25               MR. FREEDMAN:      Not for Plaintiffs, Your Honor.

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 1               MR. RIVERO:    Not from the Defense, Judge.                Good night.

 2               THE COURT:    Have a pleasant evening.

 3               MR. RIVERO:    You too.

 4         (Proceedings adjourned at 5:03 p.m.)

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 1    UNITED STATES OF AMERICA                  )

 2    ss:

 3    SOUTHERN DISTRICT OF FLORIDA              )

 4                             C E R T I F I C A T E

 5                I, Yvette Hernandez, Certified Shorthand Reporter in

 6    and for the United States District Court for the Southern

 7    District of Florida, do hereby certify that I was present at

 8    and reported in machine shorthand the proceedings had the 2nd

 9    day of December, 2021, in the above-mentioned court; and that

10    the foregoing transcript is a true, correct, and complete

11    transcript of my stenographic notes.

12                I further certify that this transcript contains pages

13    1 - 5.

14                IN WITNESS WHEREOF, I have hereunto set my hand at

15    Miami, Florida this 8th day of December, 2021.

16

17                            /s/Yvette Hernandez
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